Case 1:08-cv-02083-PLF Document 1-1 Filed 12/02/08 Pagelof2 sz.

ke Cue

 

“4-32
CIVIL COVER SHEET noe
IS-44
Rev.1/05 DC)
I (a) PLAINTIFFS DEFENDANTS

Aetilip Ab brluak

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S. PLAINTIFF CASES)

le ome

Kober A. Snes

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
TRAC 7 ROOT UD

 

 

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

 

ATTC Case: 1 :08-cv-02083

Assigned To: F riedma
, n, Paul L.
Assign. Date - 12/2/2008 .

 

 

 

Description: _
ption. Habeas Corpus/2255
II. BASIS OF JURISDICTION IH CITIZENSHIr ver ian... -
(PLACE AN x IN ONE BOX ONLY) FOR PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CAadna vin.
G1 US. Government O3 Federal Question PTF DFT PIF DFT
Plaintiff (U.S Government Not a Party) Citizen of this State ol ol Incorporated or Principal Place a4 o4
of Business in This State
(us. Government O 4 Diversity 4: oo
Defendant (Indicate Citizenship of Parties Citizen of Another State 0 2 G2 ime Seperated’ and Paincipal Place 5 G5
in item IIT) Citizen or Subjectofa 03 03
Foreign Country Foreign Nation 06 06

 

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place a X in one category, A-N, that best represents your cause of action and one in a corresponding Nature of Suit)

 

OB. Personal Injury/

Malpractice
C 310 Airplane
O 315 Airplane Product Liability
0 320 Assault, Libel & Slander
O 330 Federal Employers Liability
0 340 Marine

O A. Antitrust

O 410 Antitrust

OG 360 Other Personal Injury

0 362 Medical Malpractice

0 365 Product Liability

D 368 Asbestos Product Liability

 

 

O C. Administrative Agency

Review
0151 Medicare Act

Social Security:
0 861 HIA ((1395ff)

0 862 Black Lung (923)

0 345 Marine Product Liability 0 863 DIWC/DIWW (405(g) assignment.
O 350 Motor Vehicle 0 864 SSID Title XVI ‘ . x
0 355 Motor Vehicle Product Liability } 0 865 RSI (405(g) (if Antitrust, them A governs)

Other Statutes

0 891 Agricultural Acts

C 892 Economic Stabilization Act

0 893 Environmental Matters

0 894 Energy Allocation Act

0 890 Other Statutory Actions (If
Administrative Agency is Involved)

OD. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category may
be selected for this category of case

 

 

OE. General Civil (Other) OR OF. Pro Se General Civil

 

Immigration
0 462 Naturalization Application

0 463 Habeas Corpus- Alien
Detainee
0 465 Other Immigration Actions

Real Property
O 210 Land Condemnation

O 220 Foreclosure

© 230 Rent, Lease & Ejectment
© 240 Torts to Land

O 245 Tort Product Liability

O 290 All Other Real Property

Personal Property
© 370 Other Fraud

O 371 Truth in Lending
O 380 Other Personal Property Damage
O 385 Property Damage Product Liability

Prisoner Petitions

O 535 Death Penalty

GQ 540 Mandamus & Other
O §50 Civil Rights

O 555 Prison Condition

Property Rights
O 820 Copyrights

O 830 Patent

Bankruptcy
O 840 Trademark

0 422 Appeal 28 USC 158

O 423 Withdrawal 28 USC 157

Federal Tax Suits

O 870 Taxes (US plaintiff or
defendant

 

O 871 IRS-Third Party 26 O 460 Deportation
USC 7609 O 470 Racketeer Influenced & Corrupt
Organizations
Forfeiture/Penalty © 480 Consumer Credit
O 610 Agriculture O 490 Cable/Satellite TV
O 620 Other Food &Drug O 810 Selective Service

O 625 Drug Related Seizure of | O 850 Securities/Commodities/

Property 21 USC 881 Exchange
GO 630 Liquor Laws 0 875 Customer Challenge 12 USC
0 640 RR & Truck 3410
CO 650 Airline Regs O 900 Appeal of fee determination
0 660 Occupational under equal access to Justice
Safety/Health 0 950 Constitutionality of State
0 690 Other Statutes
O 890 Other Statutory Actions (if not

Administrative Agency Review
or Privacy Act)

Other Statutes

© 400 State Reapportionment
O 430 Banks & Banking

0 450 Commerce/ICC

Rates/etc. awn Cf:

 

 

 

 
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Oa Habeas Corpus/

2255

(W530 Habeas Corpus-General
© $10 Motion/Vacate Sentence

OH. Employment

Discrimination
O 442 Civil Rights-Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability
age, religion, retaliation)

*(If pro se, select this deck)*

OJ. FOIA/PRIVACY
ACT

O 895 Freedom of Information Act
D 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

OJ. Student Loan

© 182 Recovery of Defaulted Student
Loans (excluding veterans)

 

 

 

 

 

 

 

OK. Labor/ERISA OL. Other Civil Rights OM. Contract ON. Three-Judge Court
(non-employment) (non-employment) ; ae
| 0 710 Fair Labor Standards Act O 441 Voting (if not Voting Rights 0 110 Insurance 6441 Civil Rights-Voting (if Voting
' € 720 Labor/Mgmt. Relations Act) 0120 Marine Rights Act)
© 730 Labor/Mgmt. Reporting & 0 443 Housing/Accommodations o 130 Miller Act
Disclosure Act D444 Welfare © 140 Negotiable Instrument
0 740 Labor Railway Act 0 440 Other Civil Rights 0 150 Recovery of Overpayment &
O 790 Other Labor Litigation 0445 American w/Disabilities- 0 153 Enforcement of Judgment f
© 791 Empl. Ret. Inc. Security Act Employment ecovery of Overpayment 0
0446 Americans w/Disabilities- Veteran's Benefits
Other 0 160 Stockholder’s Suits
0190 Other Contracts
0195 Contract Product Liability
0196 Franchise
V. ORIGIN
@Y Original O 2 Removed O 3 Remanded from O 4 Reinstated O § Transferred from O Multi district 0 7Appeal to
Proceediug from State Appellate Court or Reopened another district Litigation District Judge
Court (specify) from Mag.
Judge

 

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FIL
~WA7 OF

/II. REQUESTED IN
COMPLAINT o

/IIl. RELATED CASE(S)

2% USC. ZAY/

CHECK IF THIS IS A CLASS

ACTION UNDER F.R.C.P. 23

(See instruction)

DEMAND $

py AND WRITE A pion STATEMENT OF CAUSE.)

Check YES only if demanded in complaint

JURY DEMAND: 0 YES “yo

 

 

IF ANY a YES GONO If yes, please complete related case form.
IATE SIGNATURE OF ATTORNEY OF RECORD
LA a> R2D
Cf

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required by
tw, except as provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
‘ourt for the purpose of initiating the civil docket sheet. Consequently a civil cover sheet 1s submitted to the Clerk of Court for each civil complaint filed Listed below are tips
wr completing the civil cover sheet. These tips coincide with the Roman Numerals on the Cover Sheet.

1. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff is resident of
Washington, D.C.; 88888 if plaintiff is resident of the United States but not of Washington, D.C., and 99999 if plaintiff is outside the United States.

I. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction under Section
Il.

Iv, CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best represents the

primary cause of action found in your complaint. You may select only one category. You must also select one corresponding nature of suit found under

the category of case.

VIL CAUSE OF ACTION: Cite the US Civil Statute under which you are filing and write a brief statement of the primary cause.

VIL.
Office.

RELATED CASES, IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk’s

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

\forms\js-44. wpd

LS

 
